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                                                                                               12/07/2018


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division

  DAMIAN STINNIE, et al.,

         Plaintiffs,

  v.                                                                  Civil Action No. 3:16-cv-44

  RICHARD D. HOLCOMB,
  in his official capacity as the Commissioner
  of the VIRGINIA DEPARTMENT OF
  MOTOR VEHICLES,

         Defendant.

                                    JOINT CONSENT ORDER


         This matter is before the undersigned at the request of Plaintiffs Damian Stinnie, Melissa

  Adams, Adrainne Johnson, Williest Bandy and Brianna Morgan (collectively “Plaintiffs”) and

  Defendant Richard D. Holcomb (“Defendant”) to grant a consent order establishing deadlines for

  discovery, class certification briefing, and dispositive motions. Based on the representations of

  counsel, this Court GRANTS the Joint Motion for Consent Order (ECF 122
                                                                     ___) and ORDERS the

  following:

         1.      Defendant’s response in opposition to Plaintiffs’ Motion for Class Certification

  (ECF 87) shall be filed on or before January 4, 2019.

         2.      Plaintiff’s reply in support of Plaintiffs’ Motion for Class Certification (ECF 87)

  shall be filed on or before February 1, 2019.

         3.      The deadline to complete discovery shall be May 16, 2019.

         4.      The deadline to file dispositive motions shall be June 3, 2019.

         5.      The deadline to file responses to dispositive motions shall be June 17, 2019.

         6.      The deadline to file replies to dispositive motions shall be June 24, 2019.
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          7.       Trial will take place from August 5–9, 2019, as originally scheduled.



                    7 2018
  ENTERED: December __,



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                                                                            ____ _ _______
                                                        Hon.
                                                         Hon. Joel C. Hoppe
                                                                         Hopp
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                                                        U.S. Magistrate Judge




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